966 F.2d 1444
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis Leon TAYLOR, Sr., Plaintiff-Appellant,v.Steve HOLLAR;  Faye W. McCauley;  Edward W. Murray;  John B.Taylor, Defendants-Appellees.
    No. 92-6420.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 17, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Senior District Judge.  (CA-91-601)
      Curtis Leon Taylor, Sr., Appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Curtis Leon Taylor, Sr. appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Taylor v. Hollar, No. CA-91-601 (W.D. Va.  Apr. 8, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    